           Case 1:20-cv-11253-RWZ Document 47 Filed 04/09/21 Page 1 of 25




                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS



PARTS iD, LLC, a New Jersey limited liability              Civil Action No. 20-cv-11253-RWZ
company,

Plaintiff,

     v.                                                    PARTS iD’S L.R. 56.1 STATEMENT
                                                           OF FACTS IN SUPPORT OF ITS
IDPARTS LLC, a Massachusetts limited liability             OPPOSITION TO DEFENDANT’S
company,                                                   MOTION FOR PARTIAL
                                                           SUMMARY JUDGMENT
Defendant.

IDPARTS, LLC

Counterclaim Plaintiff,

v.

PARTS iD, LLC and PARTS iD, INC.

Counterclaim Defendants



          Plaintiff PARTS iD, f/k/a Onyx Enterprises Int’l Corp., submits the following statements

of material fact in dispute in support of its Opposition to IDParts’s Motion for Partial Summary

Judgment. PARTS iD disputes the facts submitted by IDParts and provides additional facts that

establish that material issues of fact exist precluding entry of partial summary judgment.
           Case 1:20-cv-11253-RWZ Document 47 Filed 04/09/21 Page 2 of 25




       RESPONSE TO IDPARTS, LLC’S STATEMENT OF UNDISPUTED FACTS

       1.      Deny. IDParts did not use        to sell automotive parts on the internet in January

2010, or thereafter. The trademark that IDParts used as a source identifier for its online retailer

and wholesale operation from January of 2010 through February of 2012 was the following:




Corey Evans Decl. as attached to the Motion for Partial Summary Judgment, Ex. B–D. IDParts

used the following logo from February 2012 through June of 2017.




Evans Decl., Ex. E–F.        was never used as a source identifier for the online retailer and

wholesaler of European Diesels and select American Diesel engine components. Bradford Decl.,

Ex. 2, Deposition of IDParts’s Corporate Designee Peter Noble, pp. 87: 16–89:15. Further in

support of the denial that IDParts used      as a trademark or a service mark, PARTS iD states as

follows:

       a. There is no record evidence of IDParts using         alone. Evans Decl., Ex. B–H. Or

            as a source identifier. Bradford Decl., Ex. 3, Report by Chris Shoemaker, ¶¶42–44,

            55-57; Ex. 4, Report by Steven Pokotilow, ¶¶9, 19–23, 25.




                                                 2
     Case 1:20-cv-11253-RWZ Document 47 Filed 04/09/21 Page 3 of 25




    b. The “ID” image depicted in Paragraph 1 of IDParts’s Statement of Undisputed Facts

         is a partial image and fails to show the full image as deployed. The full image states

         “id photo pending.”




    See Evans Decl., Ex. B.

    c. IDParts preferred to have the “id photo pending” image removed from the website:

101:25           Q.   Would you agree with me that as the
102:01   proprietor of this website that it was ultimately your
102:02   goal to eliminate locations where the ID Photo Pending
102:03   image appeared and replace it with a product photo?
102:04           A.   We would want to have -- we wanted photos
102:05   that -- products that were missing photos, we would
102:06   want to have photographs.
102:07           Q.   Did you have a time frame that you wanted
102:08   to have the ID Photo Pending image removed from the
102:09   site and have it replaced with a product image?
102:10           A.   No, not a specific time.
102:11           Q.   Were there instances where you would
102:12   remove the product from the website because you still
102:13   didn't have an image of the product?
102:14           A.   Not typically, no.
102:15           Q.   But it is true that if you could remove


                                              3
        Case 1:20-cv-11253-RWZ Document 47 Filed 04/09/21 Page 4 of 25



 102:16    the ID Photo Pending image from the website and
 102:17    replace it with a product photo that was your
 102:18    preference?
 102:19            A.   We would prefer to have a photo of the
 102:20    actual product on the website, yes.

Bradford Decl. Ex. 2, Noble Depo., pp. 102:25–102:20; see also Bradford Decl., Ex. 1,

Deposition of IDParts’s Corporate Designee Corey Evans, pp. 58:21–60:1 (stating “we strive to

have good photography for our products, that way our customers can see the products.”)

       d. The “id photo pending” image serves as a “placeholder” image for missing photos of

          the actual products. Bradford Decl., Ex. 1, Evans Depo., pp. 56:16–57:1; Ex. 4,

          Pokotilow Rep., ¶¶9, 19–23, 25.

       e. IDParts takes steps to remove “id photo pending” image from the site. Bradford

          Decl., Ex. 1, Evans Depo., pp. 49:02–50:25; Ex. 2, Noble Depo., pp. 100:03–102:20.

       f. The image was always associated with products for which IDParts did not have a

          product image and was only used with products for which IDParts did not have a

          product image. Bradford Decl., Ex. 1, Evans Depo., pp. 56:16–57:1, 58:21–60:1; Ex.

          2, Noble Depo, p. 100:3–:23. Functionally, IDParts used an open-source catalogue

          module that IDParts uploaded product photos when available. Id. Bradford Decl.,

          Ex. 3, Shoemaker Rep., ¶¶ 45–53. When the product photo field is empty, the open-

          source catalogue associated the “id photo pending” image with the product. Id.

       g. The “id photo pending” image does not always appear on www.IDParts.com. For

          example, on January 23, 2010, the “id photo pending” image is removed and is not

          displayed:




                                              4
        Case 1:20-cv-11253-RWZ Document 47 Filed 04/09/21 Page 5 of 25




Bradford Decl., Ex. 5, p. 10–11.

       h. The “id photo pending” image is functional and communicates to the viewer that the

           image for the product is missing but forthcoming. Bradford Decl., Ex. 4, Pokotilow

           Rep., ¶¶9, 19–23, 25.

       i. IDParts does not know where the “id photo pending” image appears on its website at

           any given time. Bradford Decl., Ex. 1, Evans Depo., pp. 49:02–50:25. When it

           appears, IDParts takes steps to remove it. Bradford Decl., Ex. 1, Evans Depo., pp.

           56:16–57:1, 58:21–60:1, 60:7–61:24.




                                               5
 Case 1:20-cv-11253-RWZ Document 47 Filed 04/09/21 Page 6 of 25




j. IDParts did not code the “id photo pending” image as a source identifier for IDParts’s

   online retail and wholesale business. Bradford Decl., Ex. 3, Shoemaker Rep., ¶¶55–

   57; Ex. 4, Pokotilow Rep., ¶¶9, 19–23, 25. The ALT and TITLE codes for the image

   is different with each placement, but never contains “ID” or “IDPARTS” as part of

   the code. Bradford Decl., Ex. 3, Shoemaker Rep., ¶¶55–57.




k. An inspection of the ALT and TITLE codes for the “id photo pending” images

   featured on the exhibits attached to Mr. Corey Evans’s Declaration in support of the

   Motion for Partial Summary Judgment reveals that none of the “id photo pending”

   images functioned as a source identifier. Bradford Decl., Ex. 3, Shoemaker Rep.,

   ¶¶55–57. As depicted above, the ALT and TITLE codes contain the name of the

   product for which the image is missing. Id. As a result, search engines would view

   the images presented by IDParts in support of its Motion as being an image of a third-

   party product, rather than a trademark. Id.

l. IDParts did not know how the coding for “id photo pending” would function and

   therefore cannot rebut Mr. Shoemaker. Bradford Decl., Ex. 1, Evans Depo., pp.

   115:14–117:20.

m. The “id photo pending” image would not be accepted by the United States Patent &

   Trademark Office as a source identifying mark for IDParts’s online retail and




                                        6
        Case 1:20-cv-11253-RWZ Document 47 Filed 04/09/21 Page 7 of 25




            wholesale ecommerce operation. Bradford Decl., Ex. 4, Pokotilow Rep., ¶¶9, 19–23,

            25.

       2.         Deny. PARTS iD incorporates the facts, documents, and evidence set forth in

response to Paragraph 1 of the Statement.

       3.         Deny. PARTS iD, formerly known as Onyx Enterprises Int’l Corp (“Onyx”)

launched in March of 2009 with ID as its core trademark. PARTS iD’s founders intentionally

selected “ID” as its core trademark and deployed branding strategies, from logo design to search

engine optimization strategies, that established ID as its core brand and eCommerce services

within the automotive space. PARTS iD Chief Executive Officer Antonio Ciappina’s Decl., ¶ 6–

8. Further in support of this denial, PARTS iD states as follows:

            a. The trademark is pronounced as two words -- “CAR” and “ID.”

            b. As noted by IDParts’s corporate designees, Mr. Peter Noble and Mr. Corey

                  Evans, ID has no meaning within the automotive world. Bradford Decl., Ex. 1,

                  Evans Depo., p. 79:14–:22; Ex 2., Noble Depo., p. 139:5–:21. ID is therefore

                  fanciful. Boston Duck Tours, LP v. Super Duck Tours, LLC, 531 F.3d 1, 13 n.12

                  (1st Cir. 2008). “CAR” is generic in the field of car part sales. See id. at 13–14.

            c. From 2009 through 2013, PARTS iD placed overt and intentional emphasis upon

                  “iD,” including the use of exaggerated font size and style, distinguishing bright

                  colors, and the use of animations (i.e. stocking caps) to humanize “iD” to

                  communicate to any consumer of car parts that “iD” is the source identifier for

                  this company. Bradford Decl., Ex. 4, Pokotilow Rep., ¶¶26–30.




                                                    7
    Case 1:20-cv-11253-RWZ Document 47 Filed 04/09/21 Page 8 of 25




       d. The tag line -                                 - placed added emphasis on “iD” as

          the dominate feature of this brand.

       e. The word “car” was selected to modify iD® as it was short and generic. Ciappina

          Decl., ¶8.

2. In the year before IDParts even existed, PARTS iD used the following logos, featuring

   “car” in black/white diminutive font offset against the exaggerated font size, monolithic

   font style, bright green color, and use of animations which drew the viewer’s attention to

   iD. Id. at ¶9; Bradford Decl., Ex. 4, Pokotilow Rep., ¶¶27–28.




                                            8
Case 1:20-cv-11253-RWZ Document 47 Filed 04/09/21 Page 9 of 25




 a. PARTS iD coded the logos and meta-keywords with “ID” apart from “CAR”

    from March 10, 2009 through the present. Ciappina Decl., ¶¶14–28; Bradford

    Decl., Ex. 3, Shoemaker Rep., ¶¶18–31.

 b. The commercial impression imparted by PARTS iD branding has remained the

    same from 2009, with “imperceptible” changes in style over time. Bradford

    Decl., Ex. 4, Pokotilow Rep., ¶¶29–31. In June of 2009, PARTS iD changed the

    case of the “I” in the “ID” eCommerce brand. Ciappina Decl., ¶10. The iD®

    eCommerce style remained unchanged from June of 2009 through 2012. Id.;

    Bradford Decl., Ex. 4, Pokotilow Rep., ¶¶29–31. On January 2, 2013, PARTS iD

    colored the June 14, 2009 “iD” lettering in white and placed them on a field of

    green. Ciappina Decl., ¶10. The logo was placed in italics. At the end of 2013,

    PARTS iD dropped the generic modifier, “car,” and maintained the exact same iD

    brand originally deployed on June 14, 2009. Id.; Bradford Decl., Ex. 4, Pokotilow

    Rep., ¶¶26–34. Through these changes, PARTS iD maintained a consistent




                                     9
      Case 1:20-cv-11253-RWZ Document 47 Filed 04/09/21 Page 10 of 25




             branding strategy that placed “iD” at the center of its commercial impression.

             Ciappina Decl., ¶10.

         c. PARTS iD’s search engine optimization (“SEO”) strategies deployed in the first

             year, and thereafter, further placed emphasis on “id”, including the use of “id”

             apart from “car” as a keyword in the ALT Codes and meta-Keywords. Ciappina

             Decl., ¶¶14–28; Bradford Decl., Ex. 3, Shoemaker Rep., ¶¶20, 24–31.

         d. Well before IDParts existed, PARTS iD protected the iD Brand with a series of

             trademark applications including a word mark for “C A R I D.”

   Priority Date       Trademark Right                       Image                     Second
                                                                                     Amended
                                                                                     Complaint
                                                                                      (Dkt 29)
                                                                                     ¶¶ 1, 12-
Application Filing   Reg. No. 3711746                                                16, 42-45,
Date: April 21,                                                                      48, 51, 57,
2009                                                                                 61-97.


                     Common Law rights
                     in Massachusetts and                                            ¶¶ 1, 12-
                     each of the other                                               16, 45, 48,
March 10, 2009       states in the United                                            51, 61,
                     States.                                                         99-124




         e. As PARTS iD’s use of iD did not change from year to year, PARTS iD’s

             registration of “ID” tacks back to its founding in 2009, before IDParts formed.

             Bradford Decl., Ex. 4, Pokotilow Rep., ¶¶26–34.




                                              10
       Case 1:20-cv-11253-RWZ Document 47 Filed 04/09/21 Page 11 of 25




          f. When PARTS iD launched, its search engine optimization specialists coded “ID”


              as a separate keyword. For example, the                                banner was

              coded as follows:




Ciappina Decl., ¶16; Bradford Decl., Ex. 3, Shoemaker Rep., ¶18.

          g. Here, PARTS iD constructed this banner to have “ID” as an independent

              keyword, with a different font and color. Specifically, search engines in 2009

              would have recognized that “ID” signified a unique word. This is strong indicator

              to the search engines that the word “ID” is distinctly relevant to the content of this

              web page, even apart from the word “CAR.”:




Ciappina Decl., ¶¶17–18; Bradford Decl., Ex. 3, Shoemaker Rep., ¶¶19–20.

          h. PARTS iD deployed similar coding strategies within the header of

              www.carID.com from 2009 through the present. The Header is accessed by

              expanding the “HEAD” element at the top of the coding:




Ciappina Decl., ¶19; Bradford Decl., Ex. 3, Shoemaker Rep., ¶22.




                                               11
       Case 1:20-cv-11253-RWZ Document 47 Filed 04/09/21 Page 12 of 25




          i. Once the “HEAD” element is expanded, you are able to see the content that the

              search engines crawled when they searched the internet for content that is

              responsive to a query submitted by the search engine user in 2009.




Ciappina Decl., ¶20; Bradford Decl., Ex. 3, Shoemaker Rep., ¶¶22–23.

          j. In 2009 there were a number of points of coding embedded in the “HEAD.” At its

              inception PARTS iD coded the following elements with “ID”

                  i. Title as follows:




                  ii. Meta Keywords as follows




                 iii. Meta Description:




Ciappina Decl., ¶21; Bradford Decl., Ex. 3, Shoemaker Rep., ¶24.




                                              12
Case 1:20-cv-11253-RWZ Document 47 Filed 04/09/21 Page 13 of 25




  k. PARTS iD presented             apart from             in the Meta Keywords. Like

     with the banner above, PARTS iD utilized the Keywords to communicate to the

     search engines to specifically recognize “ID” as an independent element

     identifying www.carID.com. Ciappina Decl. ¶22; Bradford Decl., Ex. 3,

     Shoemaker Rep., ¶25.

  l. PARTS iD has always been very efficient with its use of key words, using only

     five keywords. Ciappina Decl. ¶23; Bradford Decl., Ex. 3, Shoemaker Rep.,

     ¶¶26, 40.

  m. PARTS iD used “id” three times in the five keywords presented to the public.

     This is a strong indicator that “ID” is an important element to this company’s

     offering. As the title, meta description and title all communicate that the

     company operating at www.carID.com sells car and truck accessories, the heavy



     use of          and its use separate from            is a strong indicator to the

     search engines that the word “ID” is just as relevant to this website’s self-

     identification as words like “card” and “accessories.” Ciappina Decl. ¶23;

     Bradford Decl., Ex. 3, Shoemaker Rep., ¶¶26, 40.

  n. The above search engine optimization strategies were deployed by PARTS iD

     consistently from 2009 through the present. PARTS iD uses the same keyword

     strategy and independent emphasis on ID throughout the years:




                                      13
           Case 1:20-cv-11253-RWZ Document 47 Filed 04/09/21 Page 14 of 25




Date         Coding                                                          Exhibit




June 14,                                                                     Ex. 6,

2009                                                                         p. 5




October                                                                      Ex. 6,

12, 2009                                                                     p. 6




Nov. 16,                                                                     Ex. 6,

2009                                                                         p. 7




                                         14
           Case 1:20-cv-11253-RWZ Document 47 Filed 04/09/21 Page 15 of 25




Nov. 19.                                                                                   Ex. 6,

2009                                                                                       p. 8




August 9,                                                                                  Ex. 6,

2011                                                                                       p. 10




Ciappina Decl., ¶24; Bradford Decl., Ex. 3, Shoemaker Rep., ¶27.

             a. In 2013, PARTS iD changed their search engine optimization strategies to

                correspond with changes in the guidance published by the primary search engines,


                                               15
Case 1:20-cv-11253-RWZ Document 47 Filed 04/09/21 Page 16 of 25




     such as Google. With these shifts, PARTS iD included an “ALT” code for its

     logo that separated ID from CAR consistent with the above strategies. Ciappina

     Decl., ¶25; Bradford Decl., Ex. 3, Shoemaker Rep., ¶¶28–29.




  b. Specifically separating      apart from         in the ALT Attribute is

     significant. Ciappina Decl. ¶27; Bradford Decl., Ex. 3, Shoemaker Rep., ¶¶30, 40.

     It is an expression by PARTS iD that ID is its brand within the field of

     eCommerce sales of car parts. Id. This is consistent with the impression that

     PARTS iD had attempted to impart to the search engines from 2009 as detailed

     above. Id. In so doing, PARTS iD has maintained the same commercial

     impression to the search engines regarding its identifying element. Id. Namely,

     PARTS iD maintained the same commercial impression that “ID” is its distinct,


                                      16
          Case 1:20-cv-11253-RWZ Document 47 Filed 04/09/21 Page 17 of 25




               identifying element in the automotive space. Id. Just as the distinct “CAR” and

               “ID” parts of the logo image would visually indicate to a consumer that PARTS

               iD’s source identifiers included each of these visual elements, the separate

               inclusion of “CAR” and “ID” in the Keywords and ALT Attribute perform a

               similar function for the benefit of the search engines, though textual instead of

               visual. Id. This search engine optimization strategy is intentionally using both

               “CAR” and “ID” to differentiate its contents from the others in the automotive

               space. Id.

            c. This coding and commercial impression presented to the search engines remained

               consistent through the present:

November                                                                                   Ex. 6,

29, 2013                                                                                   p. 12




Present                                                                                    Ex. 6,

                                                                                           p. 13




                                                 17
       Case 1:20-cv-11253-RWZ Document 47 Filed 04/09/21 Page 18 of 25




Ciappina Decl., ¶28; Bradford Decl., Ex. 3, Shoemaker Rep., ¶31.

       4.     Deny. See Response to Disputed Fact 3.

       5.     Admit.

       6.     Deny as worded. U.S. Reg. No. 5,658,672 tacks to PARTS iD’s use of ID for the

sale of car parts and accessories in June of 2009. As depicted below, the original iD mark

released March 10, 2009 was modified from an upper case “I” to a lower case “i” in June of

2009. From that point forward, PARTS iD maintained the same ID Branding with imperceptible

modifications that did not change the commercial impression. Ciappina Decl., ¶¶8–10; Bradford

Decl., Ex. 4, Pokotilow Rep., ¶¶26–34. The placement of the iD on a green field in 2013 and

removal of the car in late 2013 did not change how the consumers and vendors viewed the mark.

Id.




                                               18
Case 1:20-cv-11253-RWZ Document 47 Filed 04/09/21 Page 19 of 25




                              19
        Case 1:20-cv-11253-RWZ Document 47 Filed 04/09/21 Page 20 of 25




A notice of deposition was issued to IDParts seeking a corporate designee on the subject of

commercial impression of the above marks. Bradford Decl., Ex. 7, p. 19. IDParts objected and

declined to present a witness on this subject.




Bradford Decl., Ex. 7, p. 19. The undersigned followed up with IDParts’s counsel before the

start of the deposition to confer regarding the decision to withhold a witness on this important

topic. Bradford Decl., Ex. 8, March 17, 2021 Email from Bradford to Strand. By response

email, IDParts’s counsel stated that it would not be presenting a witness for examination as

“IDParts does not have any other facts at this time.” Bradford Decl., Ex. 8, March 18, 2021

Email from Strand to Bradford. Referencing the logos above from June 14, 2009 and November

29, 2013, IDParts ultimately expressed no opinion on tacking such that IDParts should not be

permitted to contest PARTS iD’s evidence of tacking:



                                                 20
   Case 1:20-cv-11253-RWZ Document 47 Filed 04/09/21 Page 21 of 25




189:14           Q.   Okay. Let me focus you again on the use
189:15   of "ID" in October of 2009. What is the difference in
189:16   the font that is used in October of 2009 for the
189:17   letters ID as compared to the font used on
189:18   November 29, 2013?
189:19                MR. STRAND: Objection. Form.
189:20           A.   When I look at the font for those two
189:21   letters, they look -- color notwithstanding, one's
189:22   white, one's green, they look similar. Those two
189:23   letters look similar.
189:24           Q.   (BY MR. BRADFORD) And does it appear
189:25   that the differences in color on November 29, 2013,
190:01   the letters are white and placed in a field of green,
190:02   correct?
190:03           A.   It does appear that -- yes.
190:04           Q.   And that color green that is in that
190:05   field is roughly the same color as the color that was
190:06   used for the letters on October 12, 2009?
190:07           A.   Could be.
190:08           Q.   But you don't know whether or not?
190:09           A.   Not for sure, no.
190:10           Q.   In the automotive space, are you aware of
190:11   whether or not a consumer would view this as the same
190:12   mark in 2009 as used in 2013?
190:13           A.   I am not aware of that.
190:14           Q.   You wouldn't be able to express an
190:15   opinion one way or the other on whether or not the
190:16   mark used on October 12, 2009, imparts the same
190:17   commercial impression as the one that is used on
190:18   November 29, 2013?
190:19           A.   Are you asking me my opinion or a
190:20   consumer's opinion?
190:21           Q.   I'm asking do you have an opinion on
190:22   whether or not a consumer would conclude that the mark
190:23   used on October 12, 2009, provides the same overall
190:24   commercial impression as the one used in the
190:25   automotive space on November 29, 2013?
191:01                MR. STRAND: Objection. Form.
191:02           A.   I don't have an opinion on that. I don't
191:03   know what a consumer would conclude.

  7.     Admit.




                                 21
        Case 1:20-cv-11253-RWZ Document 47 Filed 04/09/21 Page 22 of 25




       8.      Admit subject to the additional facts alleged in Paragraphs 1–7. Specifically,

PARTS iD first used iD in 2009 as demonstrated above, which is consistent with the file wrapper

for U.S. Reg. No. 5,804,750. Ciappina Decl., supra; Bradford Decl., Ex. 4, Pokotilow Rep.,

¶¶35–40.

       9.      Admit.

       10.     Admit subject to the facts provided in response to facts 1–8. Specifically, PARTS

iD first used iD in 2009 as demonstrated above, which is consistent with the file wrapper for U.S.

Reg. No. 6,096,254. Ciappina Decl., supra; Bradford Decl., Ex. 4, Pokotilow Rep., ¶¶35–40.

       11.     Admit that PARTS iD does not own federal trademark registrations apart from

US. Registration Nos. ’672, ’750 and ’254. PARTS iD owns the common law rights to its ID

branding dating back to March of 2009.

       12.     Deny. PARTS iD admits that it asserted Paragraph 79 of the Complaint against

IDParts. PARTS iD denies that the “opposite is true,” which is an argument rather than a factual

assertion. By way of example, IDParts contested the likelihood of confusion standard by

testifying that IDParts and PARTS iD are not competitors, do not sell the same products, do not

share the same customers, and do not share the same vendors. Bradford Decl, Ex. 1, Evans

Depo., pp. 29–32, 106–07, 152–54; Ex. 2, Noble Depo., pp 86–89, 159–60.

             PARTS iD’S ASSERTION OF ADDITIONAL MATERIAL FACTS

       13.     In October of 2009, TDIParts’s president Peter Noble received a cease and desist

letter from Volkswagen directing that he cease the use of Volkswagen’s famous trademark for

diesel products: TDI. Bradford Decl., Ex. 42 to Noble Depo. The correspondence detailed for

distinct areas of infringement and directed that TDIParts cease the use of TDI in all respects

immediately. Id.




                                                22
        Case 1:20-cv-11253-RWZ Document 47 Filed 04/09/21 Page 23 of 25




        14.     Before selection of IDParts as their new name in December of 2009, Mr. Noble

and Mr. Evans did no research to determine if ID was in use by others in the automotive space,

particularly for the online retail and wholesale sale of automotive products. Bradford Decl., Ex.

2, Noble Depo., pp. 134:04–138:15. They simply looked to see if there was another diesel

company using ID. Id.

        15.     IDParts is a pure online retailer and wholesaler of diesel products for European

diesel engines and select American diesel engines. Id.

        16.     IDParts has no federally registered trademarks.


        17.     IDParts filed an application to register its    mark on October 3, 2014 in Appl.

Ser. No. 86,414,309. Bradford Decl., Ex. 10, p. 25. IDParts asserted a First Use in Commerce

date as at least as early as April 1, 2011. Id.

        18.     On July 19, 2019, the USPTO issued a non-final office action informing IDParts


that registration of its     mark was refused due to a likelihood of confusion in the market



between IDParts’s          mark and PARTS iD’s            mark, Reg. No. 5,658,672. Id. at 2.

IDParts failed to respond to the July 19, 2019 office action. IDParts never asserted or advanced



an argument before the USPTO that it had priority over PARTS iD’s                mark. Id. at 1. On

April 14, 2020, IDParts’s Appl. Ser. No. 86,414,309 was deemed abandoned. Id.

  Dated: April 9, 2021                                 Respectfully submitted,

                                                       /s/ Aaron P. Bradford
                                                       Aaron P. Bradford, Pro Hac Vice
                                                       Mishele Kieffer, Pro Hac Vice
                                                       Nina P. Brewer
                                                       BRADFORD, LTD


                                                  23
Case 1:20-cv-11253-RWZ Document 47 Filed 04/09/21 Page 24 of 25




                                   2701 Lawrence Street
                                   Denver, CO 80205
                                   (303) 325-5467
                                   Aaron@apb-law.com
                                   Mishele@apb-law.com
                                   Nina@apb-law.com

                                   Attorneys for PARTS iD, LLC
                                   Daniel J. Cloherty (BBO #565772)
                                   Christian G. Kiely (BBO #684308)
                                   TODD & WELD LLP
                                   One Federal Street, 27th Floor
                                   Boston, MA 02110
                                   (617) 720-2626
                                   dcloherty@toddweld.com
                                   ckiely@toddweld.com

                                   Attorneys for PARTS iD, LLC




                              24
       Case 1:20-cv-11253-RWZ Document 47 Filed 04/09/21 Page 25 of 25




                               CERTIFICATE OF SERVICE

I hereby certify that on April 9, 2021 a true and correct copy of the foregoing PARTS ID’S L.R.
56.1 STATEMENT OF FACTS IN SUPPORT OF ITS OPPOSITION TO DEFENDANT’S
MOTION FOR PARTIAL SUMMARY JUDGMENT was served via email on the following:

       John Strand
       jstrand@wolfgreenfield.com
       WOLF, GREENFIELD & SACKS, P.C.
       600 Atlantic Avenue
       Boston, MA 02210

       Counsel for IDParts LLC


                                                   /s/ Vonda Westlake




                                              25
